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11

12

13                          UNITED STATES DISTRICT COURT
14
                          SOUTHERN DISTRICT OF CALIFORNIA
15

                                               Case No.: '22CV1025 RSH AHG
16

17     ALBERT E. HOOEY and ANGELA M.
       HOOEY, individuals,                     COMPLAINT FOR DAMAGES
18                                             DEMAND FOR JURY TRIAL
19     Plaintiffs,
20     v.
21     FORD MOTOR COMPANY, a Delaware
       Corporation,
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       Defendant.
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       HOOEY v. FORD MOTOR COMPANY                             COMPLAINT FOR DAMAGES
                                           1                    DEMAND FOR JURY TRIAL
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 1     Plaintiffs allege as follows:
 2                                       JURISDICTION
 3            1.     This Court has original jurisdiction over this matter pursuant to 28
 4     U.S.C. §1332, because this is a civil action between citizens of different states and
 5     the amount in controversy exceeds $75,000.00. Plaintiffs ALBERT E. HOOEY and
 6     ANGELA M. HOOEY are citizens of the State of California.
 7            2.     This Court further has subject matter jurisdiction over this matter as
 8     Plaintiffs bring claims under 15 U.S.C. §2310 et. seq.
 9            3.     This Court further has supplemental jurisdiction pursuant to 15
10     U.S.C. § 1367 over Plaintiffs’ state law causes of action as they arise out of the
11     same case or controversy and are intertwined and interrelated.
12            4.     Defendant FORD MOTOR COMPANY is a Delaware corporation
13     incorporated in and existing under the laws of the state of Delaware and having its
14     principal place of business in Dearborn, Michigan.
15                                         PARTIES
16            5.     As used in this Complaint, the word “Plaintiffs” shall refer to
17     Plaintiffs ALBERT E. HOOEY and ANGELA M. HOOEY.
18            6.     Defendant FORD MOTOR COMPANY is and was a Delaware
19     corporation doing business in the County of San Diego, State of California. At all
20     times relevant, Defendant FORD MOTOR COMPANY was/is engaged in the
21     business of marketing, selling and/or distributing Ford vehicles. (“Defendant”).
22            7.     All acts of corporate employees as alleged were authorized or ratified
23     by an officer, director or managing agent of the corporate employer.
24            8.     The claims identified in this Complaint arise out of the lease and
25     purchase of a vehicle from El Cajon Ford, located in El Cajon, in the County of
26     San Diego, State of California, as well as the failure to repair said vehicle by
27     Defendant FORD MOTOR COMPANY.
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 1                    FIRST CLAIM FOR RELIEF BY PLAINTIFFS AGAINST
 2                     DEFENDANT: DEFENDANT’S BREACH OF IMPLIED
 3                  WARRANTY OF MERCHANTABILITY 15 U.S.C §2310(d) AND
 4                                       CAL. CIV. CODE §1794
 5             9.     On or about February 23, 2019, Plaintiffs leased a 2019 Ford Edge,
 6     VIN: 2FMPK3J90KBB46841 (the “Vehicle”) which was manufactured,
 7     distributed, or sold by Defendant. The total consideration Plaintiffs paid or agreed
 8     to pay for the lease, including taxes and fees was $21,193.30. The Vehicle was
 9     leased primarily for personal, family, or household purposes. Plaintiffs leased the
10     Vehicle from a person or entity engaged in the business of manufacturing,
11     distributing, or selling consumer goods at retail.
12             10.    On or about April 2, 2022, Plaintiffs purchased the Vehicle, which
13     was manufactured, distributed, or sold by Defendant. The total consideration
14     Plaintiffs paid or agreed to pay to purchase the car, including taxes and fees was
15     $27,864.00. The Vehicle was purchased primarily for personal, family, or
16     household purposes. Plaintiffs purchased the Vehicle from a person or entity
17     engaged in the business of manufacturing, distributing, or selling consumer goods
18     at retail.
19             11.    The total consideration that Plaintiffs paid or agreed to pay for the
20     Vehicle, including the lease and buyout, was $49,057.30.
21             12.    In connection with the lease and purchase, Plaintiffs received an
22     express written warranty in which Defendant undertook to preserve or maintain the
23     utility or performance of the Vehicle or to provide compensation if there is a failure
24     in utility or performance for a specified period of time. The warranty provided, in
25     relevant part, that in the event a defect developed with the Vehicle during the
26     warranty period, Plaintiffs could deliver the Vehicle for repair services to
27     Defendant’s representative and the Vehicle would be repaired.
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 1            13.    During the warranty period, the Vehicle contained or developed
 2     various defects indicating that the Vehicle was sold with a defective transmission,
 3     causing the Vehicle to harshly and erratically shift gears, lunge, jerk, and fail to
 4     operate in a reasonable or predictable manner. Plaintiffs do not feel they can safely
 5     rely on the Vehicle for operation.
 6            14.    Pursuant to 15 U.S.C. § 2301 and Cal. Civ. Code §§ 1792 and
 7     1791.1, the lease of the Vehicle was accompanied by Defendant’s implied warranty
 8     of merchantability. The duration of the implied warranty is coextensive in duration
 9     with the duration of the express warranty provided by Defendant.
10            15.    The implied warranty of merchantability means and includes that the
11     Vehicle will comply with each of the following requirements: (1) the Vehicle will
12     pass without objection in the trade under the contract description; (2) the Vehicle is
13     fit for the ordinary purposes for which such goods are used; (3) the Vehicle is
14     adequately contained, packaged, and labeled; and (4) the Vehicle will conform to
15     the promises or affirmations of fact made on the container or label.
16            16.    On or about October 19, 2020, with approximately 24,158 miles, or
17     during the period in which the implied warranty was in effect, the Vehicle
18     contained or developed defects stated in paragraph 13 above. The existence of
19     these defects constitutes a breach of the implied warranty because the Vehicle (1)
20     does not pass without objection in the trade under the contract description, (2) is
21     not fit for the ordinary purposes for which such goods are used, (3) is not
22     adequately contained, packaged, and labeled, and (4) does not conform to the
23     promises or affirmations of fact made on the container or label.
24            17.    By serving this Complaint, Plaintiffs rightfully reject and/or
25     justifiably revoke acceptance of the Vehicle and exercise their right to cancel the
26     lease and purchase. Accordingly, Plaintiffs seek the remedies provided in
27     California Civil Code section 1794(b)(1), including the entirety of lease and
28     purchase payments. In addition, Plaintiffs seek the remedies set forth in California

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 1     Civil Code §1794(b)(2), including the diminution in value of the Vehicle resulting
 2     from its defects.
 3            18.    Plaintiffs were damaged by Defendant’s failure to comply with its
 4     obligations under the implied warranty, and therefore bring this claim pursuant to
 5     15 U.S.C. §2310(d) and Civil Code §1794.
 6            19.    Defendant does not maintain an informal dispute resolution process
 7     for the purpose of resolving claims for breach of the implied warranty of
 8     merchantability and does not maintain an informal dispute resolution process for
 9     resolving express warranty claims that complies with the requirements of 15 U.S.C.
10     § 2310(a) and the rules and regulations adopted pursuant thereto by the Federal
11     Trade Commission.
12                  SECOND CLAIM FOR RELIEF BY PLAINTIFFS AGAINST
13                  DEFENDANT: BREACH OF THE IMPLIED WARRANTY OF
14                   FITNESS 15 U.S.C. §2310(d) AND CAL. CIV. CODE. § 1794
15            20.    Plaintiffs incorporate by reference the allegations contained in all
16     paragraphs stated above.
17            21.    Defendant is a manufacturer, distributor, or seller who had reason to
18     know at the time of the retail sale that the Vehicle was required for a particular
19     purpose and that the Plaintiffs were relying on the Defendant’s skill or judgment to
20     select or furnish suitable goods.
21            22.    Pursuant to 15 U.S.C. § 2301 and pursuant to Cal. Civ. Code. §
22     1792.1, the lease and sale of the Vehicle was accompanied by Defendant’s implied
23     warranty that the Vehicle would be fit for Plaintiffs’ particular purpose. The
24     duration of the implied warranty is coextensive in duration with the duration of the
25     express written warranty provided by Defendant.
26            23.    On or about October 19, 2020, with approximately 24,158 miles, or
27     during the period in which the implied warranty was in effect, the Vehicle
28     contained or developed defects stated in paragraph 13 above. The existence of each

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 1     of these defects constitutes breach of the implied warranty because the Vehicle is
 2     not fit for Plaintiffs’ purpose.
 3            24.     Plaintiffs have been damaged by Defendant’s failure to comply with
 4     its obligations under the implied warranty, and therefore bring this claim pursuant
 5     to 15 U.S.C. § 2310(d) and Civil Code § 1794.
 6            25.     Defendant does not maintain an informal dispute resolution process
 7     for the purpose of resolving claims for breach of the implied warranty of fitness
 8     and does not maintain an informal dispute resolution process for resolving express
 9     warranty claims that complies with the requirements of 15 U.S.C. § 2310(a) and
10     the rules and regulations adopted pursuant thereto by the Federal Trade
11     Commission.
12                   THIRD CLAIM FOR RELIEF BY PLAINTIFFS AGAINST
13               DEFENDANT: BREACH OF EXPRESS WARRANTY 15 U.S.C. §
14                                2310(d) AND CAL. CIV. CODE §1794
15            26.     Plaintiffs incorporate by reference the allegations contained in all
16     paragraphs stated above.
17            27.     In accordance with Defendant’s warranty, Plaintiffs delivered the
18     Vehicle to Defendant’s representative in this state to perform warranty repairs.
19     Plaintiffs did so within a reasonable time but the Vehicle remains defective.
20            28.     Plaintiffs have been damaged by Defendant’s failure to comply with
21     its obligations under the express warranty, and therefore brings this claim pursuant
22     to 15 U.S.C. § 2310(d) and Civil Code §1794.
23            29.     Defendant’s failure to comply with its obligations under the warranty
24     was willful, in that Defendant and its representatives were aware of their
25     obligations to repair the Vehicle under the express warranty, but they intentionally
26     declined to fulfill that obligation. As well, Defendant was aware or reasonably
27     should have been aware of the defect when Plaintiffs leased and purchased the
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 1     Vehicle. Accordingly, Plaintiffs are entitled to a civil penalty of two times actual
 2     damages pursuant to Cal. Civ. Code § 1794(c) and 15 U.S.C. § 2310(d).
 3             30.    Defendant does not maintain an informal dispute resolution
 4     mechanism which complies with the requirements of 15 U.S.C. § 2310(a) and the
 5     rules and regulations adopted pursuant to thereto by the Federal Trade
 6     Commission.
 7                   FOURTH CLAIM FOR RELIEF BY PLAINTIFFS AGAINST
 8                   DEFENDANT: FAILURE TO PROMPTLY REPURCHASE
 9               PRODUCT 15 U.S.C. § 2310(d) AND CAL. CIV. CODE § 1793.2(d)
10             31.    Plaintiffs incorporate by reference the allegations contained in all
11     paragraphs stated above.
12             32.    Defendant and its representatives in this state have been unable to
13     service or repair the Vehicle to conform to the applicable express warranties after a
14     reasonable number of attempts. Despite this fact, Defendant failed to promptly
15     replace the Vehicle or make restitution to Plaintiffs as required by Civil Code §§
16     1793.2(d) and 1793.1(a)(2), and therefore Plaintiffs bring this claim pursuant to §
17     1794.
18             33.    Plaintiffs have been damaged by Defendant’s failure to comply with
19     its obligations pursuant to Civil Code §§ 1793.2(d) and 1793.1 (a)(2), and therefore
20     bring this claim pursuant to § 1794.
21             34.    The provisions of Civil Code § 1793.2(d) existed at the time
22     Defendant gave the express warranty and for that reason those provisions were
23     incorporated into the terms of the express warranty by operation of California law.
24     Accordingly, Defendant’s violation of § 1793.2(b) was a breach of terms of the
25     express warranty, and Plaintiffs bring this claim pursuant to 15 U.S.C. § 2310(d).
26             35.    Defendant’s failure to comply with its obligations under § 1793.2(d)
27     was willful, in that Defendant and its representative were aware that they were and
28     are unable to service or repair the Vehicle to conform to the applicable express

       HOOEY v. FORD MOTOR COMPANY                                        COMPLAINT FOR DAMAGES
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 1     warranties after a reasonable number of repair attempts, yet Defendant failed to
 2     promptly replace the Vehicle or make restitution. Accordingly, Plaintiffs are
 3     entitled to a civil penalty of two times Plaintiffs’ actual damages pursuant to
 4     §1794(c) and 15 U.S.C. § 2310(d)
 5            36.    Defendant does not maintain a qualified third-party dispute resolution
 6     process which substantially complies with § 1793.22. Despite Defendant’s
 7     violation of § 1793.2(d) and its notice thereof, Defendant failed to comply with its
 8     obligations within a reasonable time. Accordingly, Plaintiffs are entitled to a civil
 9     penalty of two times Plaintiff’s actual damages pursuant to Civil Code § 1794(e)
10     and 15 U.S.C. § 2310(d).
11            37.    Plaintiffs seek civil penalties pursuant to § 1794, subdivisions (c) and
12     (e) in the alternative and do not seek to cumulate civil penalties as provided in §
13     1794(f).
14            38.    Defendant does not maintain an informal dispute resolution
15     mechanism which complies with the requirements of 15 U.S.C. § 2310(a) and the
16     rules and regulations adopted pursuant thereto by the Federal Trade Commission.
17                  FIFTH CLAIM FOR RELIEF BY PLAINTIFFS AGAINST
18                DEFENDANT: FAILURE TO COMMENCE REPAIRS WITHIN A
19                REASONABLE TIME AND TO COMPLETE THEM WITHIN 30
20                    DAYS 15 U.S.C. § 2310(d) AND CAL. CIV. CODE § 1794
21            39.    Plaintiffs incorporate by reference the allegations contained in all
22     paragraphs stated above.
23            40.    Although Plaintiffs delivered the Vehicle to Defendant’s
24     representative in this state, Defendant and its representative failed to commence the
25     service or repairs within a reasonable time and failed to service or repair the
26     Vehicle so as to conform to the applicable warranties within 30 days, in violation
27     of Civil Code § 1793.2(b).
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       HOOEY v. FORD MOTOR COMPANY                                         COMPLAINT FOR DAMAGES
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 1              41.      Plaintiffs have been damaged by Defendant’s failure to comply with
 2     its obligations pursuant to § 1793.2(b), and therefore brings this claim pursuant to
 3     §1794.
 4              42.      The provisions of Civil Code § 1793.2(b) existed at the time the
 5     Defendant gave the express warranty and for that reason those provisions were
 6     incorporated into the terms of the express warranty by operation of California law.
 7     Accordingly, Defendant’s violation of § 1793.2(b) was a breach of the terms of the
 8     express warranty, and Plaintiffs bring this claim pursuant to 15 U.S.C. §2310(d).
 9              43.      Defendant’s failure to comply with its obligations under § 1793.2(b)
10     was willful in that Defendant and its representative were aware that they were
11     obligated to service or repair the Vehicle to conform to the applicable express
12     warranties within 30 days, yet they failed to do so. Accordingly, Plaintiffs are
13     entitled to a civil penalty of two times Plaintiffs’ actual damages pursuant to
14     §1794(c) and 15 U.S.C. § 2310(d).
15              44.      Defendant does not maintain an informal dispute resolution
16     mechanism which complies with the requirements of 15 U.S.C. §2310(a) and the
17     rules and regulations adopted pursuant thereto by the Federal Trade Commission.
18

19                                                 PRAYER
20              PLAINTIFFS PRAY for judgment against Defendant as follows:
21              1. For Plaintiffs’ damages in the amount of at least $49,057.30
22              2. For restitution to Plaintiffs in the amount of $49,057.30.
23              3. On Plaintiffs’ Third Claim for Relief, for a civil penalty in the amount of
24                    $98,114.60, which is two times Plaintiffs’ damages, pursuant to Civil
25                    Code § 1794(c) and (e) and 15 U.S.C. §2310(d).
26              4. On Plaintiffs’ Fourth Claim for Relief, for a civil penalty in the amount
27                    of $98,114.60 which is two times Plaintiffs’ damages, pursuant to Civil
28                    Code § 1794(c) and (e) and 15 U.S.C. §2310(d).

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 1         5. On Plaintiffs’ Fifth Claim for Relief, for a civil penalty in the amount of
 2            $98,114.60 which is two times Plaintiffs’ damages, pursuant to Civil
 3            Code § 1794(c) and (e) and 15 U.S.C. §2310(d).
 4         6. For any consequential and incidental damages.
 5         7. For costs of the suit and Plaintiffs’ reasonable attorney fees pursuant to
 6            Civil Code §1794(d) and 15 U.S.C. § 2310(d).
 7         8. For prejudgment interest at the legal rate.
 8         9. And for such other relief as the Court may deem proper.
 9

10   Dated: July 14, 2022                      MCMILLAN LAW GROUP, APC
11
                                           By: /s/Julian McMillan
12                                            Julian McMillan, Esq.
                                              Attorney for Plaintiffs
13                                            ALBERT E. HOOEY and
14                                            ANGELA M. HOOEY

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 1                                 DEMAND FOR JURY TRIAL
 2         Plaintiffs hereby demand a jury trial on all causes of action asserted herein.
 3

 4   Dated: July 14, 2022                      MCMILLAN LAW GROUP, APC
 5

 6
                                        By:     /s/Julian McMillan
 7                                             Julian McMillan, Esq.
                                               Attorney for Plaintiffs
 8                                             ALBERT E. HOOEY and
                                               ANGELA M. HOOEY
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